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Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 2 of 39 PageID #: 2
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 3 of 39 PageID #: 3
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 4 of 39 PageID #: 4
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 5 of 39 PageID #: 5
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 6 of 39 PageID #: 6
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 7 of 39 PageID #: 7
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Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 9 of 39 PageID #: 9
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 10 of 39 PageID #: 10
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 11 of 39 PageID #: 11
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 12 of 39 PageID #: 12
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 13 of 39 PageID #: 13
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 14 of 39 PageID #: 14
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Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 16 of 39 PageID #: 16
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Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 18 of 39 PageID #: 18
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 19 of 39 PageID #: 19
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 20 of 39 PageID #: 20
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 21 of 39 PageID #: 21
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 22 of 39 PageID #: 22
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 23 of 39 PageID #: 23
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 24 of 39 PageID #: 24
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 25 of 39 PageID #: 25
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 26 of 39 PageID #: 26
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 27 of 39 PageID #: 27
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 28 of 39 PageID #: 28
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Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 30 of 39 PageID #: 30
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 31 of 39 PageID #: 31
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Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 33 of 39 PageID #: 33
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 34 of 39 PageID #: 34
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 35 of 39 PageID #: 35
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 36 of 39 PageID #: 36
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 37 of 39 PageID #: 37
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 38 of 39 PageID #: 38
Case: 1:18-cv-00162-SNLJ Doc. #: 1 Filed: 06/21/18 Page: 39 of 39 PageID #: 39
